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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                   *             CRIMINAL DOCKET NO. 09-177

         v.                                                *             SECTION:           “N”

DANQUELL MILLER                                            *

                                                       *   *    *

                          GOVERNMENT’S MOTION TO RECONSIDER
                            ORDER GRANTING RE-SENTENCING

              NOW INTO COURT, comes the United States of America, appearing herein through

the undersigned Assistant United States Attorney, who, pursuant to Rule 59 of the Federal Rules

of Civil Procedure, respectfully moves this Court to reconsider, alter, and amend its Order (Rec.

Doc. No. 356), which granted petitioner-defendant Danquell Miller’s motions filed pursuant to

18 U.S.C. § 3582(c)(2) and 28 U.S.C. § 2255 and ordered re-sentencing in light of the Fair

Sentencing Act of 2010 (“FSA”) and Dorsey v. United States, 132 S.Ct. 2321 (2012). 1 Because

this Court had already considered the FSA’s applicability, re-sentencing is not warranted. Thus,

the United States respectfully requests that this Court reconsider its previous decision. 2



1
  Miller brought similar claims in motions filed under 18 U.S.C. § 3582 and 28 U.S.C. § 2255. For the reasons
stated below, Miller is not entitled to relief under either motion.
2
  The government maintains and reasserts all previous arguments set forth in its previous filings relating to Miller’s
motions for relief.
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                             FACTS AND PROCEDURAL HISTORY

        A jury convicted Miller of being part of a drug conspiracy (Count 1) and obstruction of

justice (Count 6). Rec. Doc. No. 245. Because a sentencing enhancement notice was filed prior

to trial pursuant 21 U.S.C. § 851, Miller faced a sentence of at least 20 years and maximum of

life imprisonment as to Count 1, based on the penalties that existed at the time Miller committed

the offenses. See PSR of Sept. 1, 2010, ¶ 117; 21 U.S.C. § 841(b)(1)(A) (2010). Following his

conviction but before he was sentenced, the FSA was enacted on August 3, 2010.

        In preparing the PSR, the United Stated Probation Office calculated the sentencing

guidelines to be 168-210 months. PSR of Sept. 1, 2010, ¶ 119. Probation also prepared an

addendum containing another calculation based on the recently passed FSA, which reduced the

ratio between powder and crack cocaine from 100:1 down to 18:1. See PSR Addendum. This

addendum stated that the guideline range under the FSA was 110-137 months in prison, but that

the mandatory minimum was 240 months. Id.

        The Court sentenced Miller on September 29, 2010 to 240 months on Count 1 and 210

months on Count 6. 3 See Rec. Doc. Nos. 244, 245. All but 60 months of the term of

imprisonment imposed on Count 6 were to run concurrently with the sentence imposed on Count

1, which led to a total of 300 months imprisonment. Id. This was higher than the advisory

guideline range.

        The FSA’s application was an issue at sentencing. Ultimately, the Court concluded that

Miller’s crimes were governed by the law in effect at the time he committed them. See




3
  Co-defendants Dalton Bennett and Lance Bennett were each sentenced on September 15, 2010. They each
received a sentence of life imprisonment. Rec. Doc. Nos. 231, 232, 233, 234.




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Sentencing Transcript (Rec. Doc. No. 278, p. 12). However, the Court stated that, even had the

FSA applied, the sentence would have been the same, stating:

       To the extent that the FSA did result in a favorable criminal change in the law
       which would apply to this defendant and which would have some impact on what
       his guideline range is, the Court notes that the sentencing guidelines are, in fact,
       advisory now under Booker and Fanfan. And thus, the Court could decide to
       impose a sentence on the defendant that is greater or lesser than the applicable
       guideline range as long as it did not exceed the statutory maximum, if it is found
       that the guidelines did not adequately take into consideration certain other
       relevant facts about the defendant or about the crime with which he has been
       convicted in this case.

Sentencing Transcript, pp. 12-13. Thus, the Court clearly realized the guideline calculation of

168 – 210 months was advisory, and the Court had the authority to impose a higher sentence.

While the Court ultimately determined that Miller should be sentenced according to the law and

penalties that existed at the time of the offense, id. at 13, the Court negated any relevance such

application may have had when it stated:

       This Court will also note that regardless of its ruling on that particular issue, even
       if it were, even if the FSA was applied retroactively, such that the minimum
       sentence would be reduced in this case under that theory, the Court’s sentence
       would remain unchanged.

Id. at 13 (emphasis added).

       Moreover, in imposing the 300-month sentence, the Court specified that the final

sentence was proper in light of the statutory factors of 18 U.S.C. § 3553. Sentencing Transcript,

p. 24. The Court considered that Miller was not only involved in drug trafficking but had taken

part in phone calls with an incarcerated co-defendant in which he discussed further distribution

of drugs and a plan to provide a false affidavit. Id. at 24-25. The Court also considered the

defendant’s multiple convictions, the first of which occurred when he was 13 years old. Id. at

25. In reference to the total sentence, which was above the advisory guideline range, id., the

Court stated:



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       The Court finds that the sentence imposed, which represents a substantial term of
       imprisonment, reflects the nature and specific circumstances of this offense, the
       seriousness of this offense – and I might add parenthetically that the two co-
       defendants who went to trial in this case each received life sentences – as well as
       the defendant’s extensive criminal history.

       The sentence promotes respect for the law, provides just punishment, affords
       adequate deterrence and protects the public. It is also meant to avoid unwarranted
       sentencing disparities amongst the co-defendants.

Sentencing Transcript, pp. 25-26. Also, with reference to the FSA’s applicability, the Court

again stated, “The Court would further note, and I think I have said it earlier that this sentence

would be the sentence in terms of the incarceration regardless of how the Court ruled on the

issue of the applicability of the FSA.” Id. at 25 (emphasis added).

       Miller filed a direct appeal, along with co-defendants Lance Bennett and Dalton Bennett,

but did not assert a FSA challenge to his sentence. The Fifth Circuit affirmed this Court’s

sentence, stating:

       We are satisfied upon reviewing Miller's sentencing hearing that the district court
       took the § 3553(a) factors into account in determining his sentence. Moreover,
       avoiding unwarranted sentencing disparities among co-defendants is a valid
       sentencing consideration. Thus, Miller's sentence was not substantively
       unreasonable, and the district court did not abuse its discretion in running 60
       months of Miller's sentence on Count Six consecutively to his 240–month
       sentence on Count One.

United States v. Bennett, 664 F.3d 997, 1015 (5th Cir. 2011) cert. denied, 132 S. Ct. 1875 (2012)

and cert. granted, judgment vacated, 133 S. Ct. 71 (2012) and cert. denied, 132 S. Ct. 2698

(2012) (internal citation omitted). On May 29, 2012, the Supreme Court denied Miller’s petition

for writ of certiorari. 132 S.Ct. 2698 (2012).

       Miller filed motions under 18 U.S.C. § 3582 and 28 U.S.C. § 2255 in which he sought

amendment of his sentence based on the FSA. See Rec. Doc. Nos. 317, 326. On December 2,




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2013, this Court granted the motions to the extent they sought re-sentencing under Dorsey.

Order and Reasons, p. 7. 4

                                        LAW AND ARGUMENT

        In granting defendant’s § 2255 motion, this Court relied on Dorsey, 132 U.S. 2321,

which held that the more lenient penalty provisions of the FSA apply to defendants like Miller,

who committed their crimes before August 3, 2010, but who were sentenced after that date. See

Order and Reasons, p. 7. The Court determined that because “Miller was . . . not sentenced until

September 29, 2010, after the FSA became effective . . . re-sentencing is appropriate under

Dorsey.” Id.

        However, re-sentencing is not warranted under Dorsey because this Court had already

considered the potential application of the FSA when it originally sentenced Miller. As the

Court’s pronouncement made clear, Miller’s sentence was not imposed on the basis of pre-FSA

mandatory minimums or guideline ranges. His sentence was not imposed contrary to, or in

violation of the law. Independent of the pre-FSA laws and guideline ranges, this Court took into

account the factors identified in 18 U.S.C. § 3553(a) in imposing the upward variance, which has

been affirmed by the Fifth Circuit. See United States v. Bennett et al., 664 F.3d 997, 1015 (5th

Cir. 2011), cert. denied, Miller v. United States, 132 S.Ct. 2698 (2012). 5




4
  The Court denied Miller’s requested relief based on his claims that the government elicited and relied on false
testimony.
5
  The Supreme Court vacated Lance Bennett’s sentence following its Dorsey decision. Bennett v. United States, 133
S.Ct. 71 (2012). On remand, the Fifth Circuit nonetheless affirmed Bennett’s life sentence because this Court had
“explained that, considering the 18 U.S.C. § 3553(a) factors, it would have departed from the Guidelines and
imposed the same sentence even if the FSA applied.” United States v. Bennett, 485 Fed.Appx 673, 675 (5th Cir.
2012). It also noted that Miller had not challenged his sentence under the FSA, and, therefore, Dorsey did not
disturb its prior opinion affirming his sentence. Id. at 674 n.1.




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I.          This Court stated that the same sentenced would apply under the FSA.

            Although the FSA certainly applies to Miller in light of Dorsey, this Court already

  considered the FSA’s applicability when it originally sentenced Miller. Thus, a re-sentencing

  hearing is not mandated under Dorsey in this matter because of this Court’s statement that it

     would have imposed the same sentence under the FSA. The Fifth Circuit affirmed this Court’s

  sentence of Miller’s co-defendant Lance Bennett for this same reason. 6 Unlike Miller, Lance

     had asserted a FSA challenge to his life sentence on appeal. See Bennett, 664 F.3d at 1014-15.

     The Fifth Circuit affirmed, id. at 1015, but the Supreme Court vacated the sentence and

     remanded in light of Dorsey. Bennett v. United States, 133 S.Ct. 71 (2012). Reviewing the

     sentence under Dorsey, the Fifth Circuit nonetheless affirmed Lance’s life sentence without any

     further remand for re-sentencing. United States v. Bennett, 485 Fed.Appx. 673, 675-76 (5th Cir.

     2012). In so doing, the panel acknowledged this Court’s detailed reasons for sentencing and

     held, “Although the district court sentenced [Lance] to a term of life imprisonment pursuant to

     the mandatory life provision, it explained that, considering the 18 U.S.C. § 3553(a) factors, it

     would have departed from the Guidelines and imposed the same sentence even if the FSA

     applied.” Id. at 675 (emphasis added). The Fifth Circuit stated that “[t]he district court justified

     Bennett's life sentence during his sentencing hearing” by giving multiple reasons. Id. “Given

     the district court's due consideration of the § 3553(a) factors, the serious nature of [Lance]'s

     offense, and his extensive criminal history, [the Fifth Circuit] conclude[d] that the district court

     did not abuse its discretion in imposing a term of life imprisonment.” Id. at 676.




  6
  For simplicity and to avoid confusion, this memorandum will refer to Lance Bennett as “Lance” and Dalton
 Bennett as “Dalton.”




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              This decision by the Fifth Circuit, following the Supreme Court’s instructions in Dorsey,

  supports this motion for reconsideration and provides reasons why Miller is not entitled to re-

  sentencing. As with Lance, the Court gave several reasons justifying its 300-month sentence,

  and the reasonableness of that sentence has already been affirmed. Bennett, 664 F.3d at 1015.

  As with Lance, this Court specifically stated that Miller’s sentence would be the same even if the

  FSA applied. See Sentencing Transcript, pp. 13, 25. Thus, as the Fifth Circuit determined with

  Lance, re-sentencing is not warranted for Miller following Dorsey.

II.           The facts of Dorsey are distinguishable from Miller’s case.

              Additionally, the underlying facts of Dorsey do not compel re-sentencing in this matter.

   In that case, defendant Hill was sentenced after the FSA’s enactment. Dorsey, 132 S.Ct. at 2329

   The district court concluded that the penalties in place at the time of the offense applied and

   sentenced Hill to the statutory mandatory minimum of 10 years imprisonment. Id. at 2329.

   However, the district court “stated that, if he thought that the Fair Sentencing Act applied, he

   would have sentenced Hill to that Act's 5–year minimum.” Id. 7

              Contrary, to defendant Hill, this Court did not state that it would have sentenced Miller to

  a lesser term had it believed the FSA applied. Instead, this Court considered the possible

  applicability of the FSA and stated at least twice during the sentencing proceeding that the 300-

  month sentence would have been the same. This Court’s sentence left no doubt that Miller’s

  sentence would be 300 months imprisonment regardless of whether the FSA applied. As such,

  re-sentencing is not appropriate simply because Dorsey has made clear that the FSA does apply.




  7
       The district court that sentenced defendant Dorsey likewise concluded that the older penalties applied. Dorsey,
      132 S.Ct. at 2329.




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III.            Re-sentencing would create disparities and inconsistencies.

                To grant Miller a re-sentencing would create unwarranted disparities in both sentences

       and in the application of the law among co-defendants that were convicted of the same

   conspiracy. The Fifth Circuit has already relied on this Court’s statement that the sentence

   would have been the same if the FSA applied in affirming Lance’s life sentence without the need

   to remand for resentencing. Bennett, 485 Fed.Appx. at 675. Granting Miller’s motion creates a

   legal inconsistency in which its statement that the same sentence would be imposed under the

   FSA was relied on by the Fifth Circuit in Lance’s case, but is being ignored by this Court in

   Miller’s case. It also grants a benefit of re-sentencing to Miller, who did not raise this issue for

   review on direct appeal, while such relief is foreclosed to Lance who did raise the issue for

   review on direct appeal, had his sentence vacated in the Supreme Court, only to ultimately have

   is life sentence affirmed without re-sentencing based on this Court’s statement that it would have

   imposed the same sentence under the FSA. 8 Ultimately, it rewards Miller for not raising a

       sentencing issue on direct appeal that could have been raised on direct appeal. See United States

       v. Seyfert, 67 F.3d 544, 546 (5th Cir. 1995).

                Further, granting Miller’s motion and setting the matter for a full re-sentencing hearing,

       in which the Court could impose a lower sentence, creates a possible serious disparity between

       the sentences of Miller and his co-defendants Dalton and Lance. Although all have similarl

       criminal records and were found guilty of the same offenses, Dalton and Lance would serve life

       in prison, but Miller could serve significantly less. This Court’s decision to re-sentence Miller

       after such sentence has already been affirmed contravenes the desire of avoiding unwarranted


    8
         Had Miller sought direct review of his sentence on the ground that the FSA applied, as did Lance, the Fifth Circuit
       on remand almost certainly would have ruled consistently and affirmed Miller’s sentence based on this Court’s
       statements at sentencing as it did with Lance’s sentence.




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      sentencing disparities as stated by Congress, see 18 U.S.C. § 3553(a)(6), the Supreme Court, see

      Dorsey, 132 S.Ct. at 2333, and this Court’s own reasons for imposing the 300 month sentence.

      See Sentencing Transcript (Rec. Doc. No. 278, p. 26).

             Moreover, granting re-sentencing in this matter upsets society’s interest in the finality of

      convictions and sentences where there has been no factual or practical change in circumstances.

      Because the Court stated it would have imposed the 300-month sentence if the FSA applied, and

      now the Supreme Court has clarified that the FSA indeed does apply, there is no reason

      justifying re-sentencing in this matter. Of course, while the Court has the discretion “to correct

      an acknowledged and obvious mistake” in sentencing, United States v. Lopez, 26 F.3d 512, 518

      (5th Cir. 1994), such discretion “does not extend to a situation where the district judge simply

      changes his mind about the sentence.” United States v. Ross, 557 F.3d 237, 240 (5th Cir. 2009)

      (citing United States v. Cook, 890 F.2d 672, 675 (4th Cir. 1989)). In this matter, re-sentencing is

      not warranted following Dorsey, which is the sole reason this Court granted Miller’s motion.

      Order and Reasons, p. 7.

             Finally, granting Miller’s motion and ordering re-sentencing in this situation would send

   the wrong message to other gang members in the city, especially the violent 3NG gang, whose

   members have recently been indicted on state murder and racketeering charges. At trial Miller

   was identified as a member of this gang. He committed serious crimes. There is no reason why

   Miller should receive a re-sentencing hearing solely because of Dorsey’s holding that the FSA

   applies to someone in Miller’s position when this Court has already stated that it would have

   imposed the same sentence had the FSA applied.

IV.          Miller’s claim under § 2255 is procedurally defaulted.

             This Court noted that, because it found that re-sentencing was appropriate, it was not

      necessary to “decide which statute provides the more appropriate vehicle for bringing such a


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  claim.” See Order and Reasons, p. 7 n. 2. However, as the Court has set the matter for re-

     sentencing and has given Miller the opportunity to appear, see id. at 7, it seems as though the

     Court ultimately granted the § 2255 motion and not his § 3582 motion, “because a sentence

     modification under § 3582(c)(2) does not constitute a complete re-sentencing.” United States v.

     Cooley, 590 F.3d 293, 295 (5th Cir. 2009).

            As argued in the government’s original opposition, Miller’s challenge to this upward

     Court’s upward departure or variance does not implicate any constitutional, statutory or

     jurisdictional claim because it did not exceed the statutory maximum and, therefore, cannot be

     raised in a § 2255 proceeding. See United States v. Faubion, 19 F.3d 226, 232 (5th Cir. 1994).

     Miller should have addressed the FSA’s application on direct appeal, as did Lance.

            “Section 2255 does not reach errors not of a constitutional or jurisdictional magnitude

  that could have been reached by a direct appeal.” Seyfert, 67 F.3d at 546. “[T]o obtain collateral

  relief a prisoner must clear a significantly higher hurdle than would exist on direct appeal.”

  United States v. Frady, 456 U.S. 152, 166 (1982). “[T]o obtain collateral relief based on trial

 errors to which no contemporaneous objection was made, a convicted defendant must show both

 (1) ‘cause’ excusing his double procedural default, and (2) ‘actual prejudice’ resulting from the

 errors of which he complains.” Id. at 167-68. Miller cannot show cause for not raising this issue

  on direct appeal as his co-defendant Lance did. Because this Court made clear that the sentence

  would have been the same under the FSA, he cannot show actual prejudice. As a result, § 2255

  relief is not appropriate.

V.          Miller is not entitled to re-sentencing under 18 U.S.C. § 3582.

            Vacating Miller’s sentence and ordering a full re-sentencing is not proper relief under 18

  U.S.C. § 3582(c)(2). As the Supreme Court has stated,




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       By its terms, § 3582(c)(2) does not authorize a sentencing or resentencing
       proceeding. Instead, it provides for the “modif[ication of] a term of
       imprisonment” by giving courts the power to “reduce” an otherwise final sentence
       in circumstances specified by the Commission. Compare 28 U.S.C. §
       994(a)(2)(C) (referring to § 3582(c)(2) as a “sentence modification provisio[n]”),
       with 18 U.S.C. § 3742(f) (authorizing courts of appeals to remand “for further
       sentencing” upon a finding of error), and § 3742(g) (establishing the terms of
       “sentencing upon remand” and describing the proceeding as a “resentenc[ing]”
       (capitalization omitted)). It is also notable that the provision applies only to a
       limited class of prisoners—namely, those whose sentence was based on a
       sentencing range subsequently lowered by the Commission. Section 3582(c)(2)'s
       text, together with its narrow scope, shows that Congress intended to authorize
       only a limited adjustment to an otherwise final sentence and not a plenary
       resentencing proceeding.

Dillon v. United States, 130 S. Ct. 2683, 2690-91 (2010) (emphasis added). The United States

Sentencing Guidelines also specifically state that § 3582(c)(2) proceedings do not constitute full

re-sentencings. U.S.S.G. § 1B1.10(a)(3). More support that the matter is not a “re-sentencing”

but only a modification is found in Rule 43 of the Federal Rules of Criminal Procedure, which

requires a defendant’s presence at sentencing but not in proceedings under 18 U.S.C. §

3582(c)(2). Moreover, as U.S.S.G. § 1B1.10(b)(1) states, when determining the amended

guidelines and whether and to what extent a reduction is warranted under § 3582(c)(2), a

sentencing court is to leave all other guideline application decisions unaffected. A sentencing

reduction under § 3582(c)(2) does not entail revisiting factual determinations made at

sentencing. United States v. Williams, 477 Fed.Appx. 190, 191 (5th Cir. 2012).

       In this case, although the actual amended guideline were published a few weeks after

Miller was sentenced, the Court had the PSR addendum that noted what the FSA-amended

guideline range would be. The Court still decided to impose a sentence higher than the guideline

range and stated the sentence would be the same under the FSA. The Court already considered

sentencing factors under § 3553(a). These factual decisions and guideline applications are

unaffected by in § 3582(c)(2) proceedings, U.S.S.G. § 1B1.10(b)(1), and should not be revisited



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in any modification. Williams, 477 Fed.Appx. at 191. As a result, the upward-variance aspect of

his sentence that Miller seeks to correct was not affected by FSA guideline amendments, they are

outside the scope of the proceeding authorized by § 3582(c)(2), and the Court should not address

them in such a proceeding. See Dillon , 130 S. Ct. at 2694.

                                        CONCLUSION

       For the above-mentioned reasons, the government respectfully requests that this Court

reconsider its ruling, alter and amend its Order, and deny Miller’s motions.

                                                     Respectfully submitted,

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